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                                    EXHIBIT 16
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                                                     VINTAGE_ILLINOIS_000119
                                                                     Exhibit 16
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                                                     VINTAGE_ILLINOIS_000120
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                                                     VINTAGE_ILLINOIS_000121
                                                                     Exhibit 16
